                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA



 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-129
                                                       )       Case No. 1:13-cr-83
 v.                                                    )
                                                       )       MATTICE / LEE
 MITCHELL HUGHES                                       )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on December 11,

 2013. At the hearing, defendant moved to withdraw his not guilty plea to Count One of the six-

 count Second Superseding Indictment in case number 1:12-cr-129 and entered a plea of guilty to the

 lesser included offense of the charge in Count One, that is of conspiracy to distribute five (5) grams

 or more of methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and to Count One of the one-count Indictment in

 case number 1:13-cr-83 in exchange for the undertakings made by the government in the written

 plea agreement. On the basis of the record made at the hearing, I find the defendant is fully capable

 and competent to enter an informed plea; the plea is made knowingly and with full understanding

 of each of the rights waived by defendant; the plea is made voluntarily and free from any force,

 threats, or promises, apart from the promises in the plea agreement; the defendant understands the

 nature of the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Second Superseding Indictment in case number 1:12-cr-129 and to Count One of the




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 Indictment in case number 1:13-cr-83 and be granted, his plea of guilty to the lesser included offense

 of the charge in Count One in case number 1:12-cr-129, that is of conspiracy to distribute five (5)

 grams or more of methamphetamine (actual) and fifty (50) grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and Count 1 of the indictment in case number 1:13-

 cr-83 be accepted, the Court adjudicate defendant guilty of the lesser included offense of the charge

 in Count One of the Second Superseding Indictment in case number 1:12-cr-129, that is of

 conspiracy to distribute five (5) grams or more of methamphetamine (actual) and fifty (50) grams

 or more of a mixture and substance containing a detectable amount of methamphetamine, a Schedule

 II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) and Count 1 of the

 Indictment in case number 1:13-cr-83, and a decision on whether to accept the plea agreement be

 deferred until sentencing. I further RECOMMEND defendant remain in custody until sentencing

 in this matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.



                                                s/ Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE


                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).



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